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12
                          UNITED STATES DISTRICT COURT
13
                        CENTRAL DISTRICT OF CALIFORNIA
14

15   IN RE: NATIONAL FOOTBALL                  Case No. 2:15-ml-02668-PSG (SKx)
     LEAGUE’S “SUNDAY TICKET”
16   ANTITRUST LITIGATION
                                               MEMORANDUM IN OPPOSITION
17   THIS DOCUMENT RELATES TO                  TO NFL DEFENDANTS’ MOTION
     ALL ACTIONS                               IN LIMINE NO. 7 TO EXCLUDE
18                                             CERTAIN TESTIMONY FROM
                                               EINER ELHAUGE
19
                                               REDACTED VERSION OF
20                                             DOCUMENT PROPOSED TO BE
                                               FILED UNDER SEAL
21
                                               JUDGE: Hon. Philip S. Gutierrez
22                                             DATE: February 7, 2024
                                               TIME: 2:30 p.m.
23                                             COURTROOM:
                                                First Street Courthouse
24                                              350 West 1st Street
                                                Courtroom 6A
25                                              Los Angeles, CA 90012
26

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 1         Professor Einer Elhauge is a rebuttal witness who will provide testimony
 2   critiquing the economic soundness of the opinions offered by the NFL Defendants’
 3   expert Dr. Douglas Bernheim. Each of Prof. Elhauge’s opinions responds directly to
 4   an opinion raised by Dr. Bernheim.
 5         The NFL Defendants nonetheless try to dismiss Prof. Elhauge as a law
 6   professor, suggesting that his position renders his testimony legal rather than
 7   economic. This attempt ignores that all 23 judicial opinions involving cases in which
 8   Prof. Elhauge has offered opinions on antitrust economics have admitted his expert
 9   testimony. 1 Several have referred to him as an “antitrust titan.” This list of cases
10
     1
       See Moehrl v Nat’l Ass’n of Realtors, 2023 WL 2683199, at *5 (N.D. Ill. March 29,
11   2023) (“Plaintiffs have retained Professor Einer Elhauge to conduct an economic
     analysis of the evidence and provide his expert opinion on whether common
12   economic evidence can answer questions related to market definition, market power,
     liability, and impact.. . . There is no question that Elhauge is qualified to opine on
13   antitrust matters. . . . Multiple district courts before which he has testified have gone
     so far as to describe Elhauge as ‘an antitrust titan.’”); Castro v. Sanofi Pasteur Inc.,
14   134 F. Supp. 3d 820, 827, 830, 835 (D.N.J. 2015) (calling Prof. Elhauge “a
     preeminent antitrust scholar” who is “eminently qualified” to testify on antitrust
15   economics and has “been described as a ‘highly qualified antitrust titan.’”); In re
     Mushroom Direct Purchaser Antitrust Litigation, 2015 WL 5767415 at *4-5 (E.D.
16   Pa. July 29, 2015) (“courts have admitted Prof. Elhauge as an expert in antitrust
     economics generally… Prof. Elhauge has been described as a ‘highly qualified
17   antitrust titan[].’”); Natchitoches Parish Hosp. Serv. Dist. v. Tyco Int’l, Ltd., 247
     F.R.D. 253, 273 (D. Mass. 2008) (describing Prof. Elhauge as a “highly qualified
18   antitrust tita[n]”); Natchitoches Parish Hosp. Serv. Dist. v. Tyco Int’l, Ltd., 2009 WL
     3053855, at *3 (D. Mass. 2009) (qualifying Professor Elhauge as an expert in the
19   field of antitrust economics); In Re EpiPen Marketing, Sales Practices, and Antitrust
     Litigation, 2021 WL 2577490, *12 n.3, 15-16, 21, 23, 26-27 (D. Kansas 2021) (“the
20   court finds Prof. Elhauge sufficiently qualified to provide expert testimony in this
     case…. Similar to the conclusions reached in the cited cases, the court here finds
21   Prof. Elhauge’s methodology reliable and scientifically sound.”); In Re EpiPen
     Marketing, Sales Practices, and Antitrust Litigation, 2021 WL 2585065, at *53 (D.
22   Kansas 2021) (“As the court has explained … it finds Prof. Elhauge’s reverse
     payment analysis sufficiently reliable and scientifically sound to qualify for
23   admission as evidence…. And, consistent with other courts who have considered
     Prof. Elhauge’s proffered expert testimony in pay-for-delay cases, the court finds
24   Prof. Elhauge’s analysis qualifies as admissible expert opinion”); In Re EpiPen
     Marketing, Sales Practices, and Antitrust Litigation, 2020 WL 1164869, *23, 26 (D.
25   Kansas 2020) (“Courts have referred to Prof. Elhauge as a ‘highly qualified antitrust
     titan.’…. For the same reasons, the court finds that Prof. Elhauge is qualified to
26   render his expert opinions in this case [on antirust economics].”); In re Broiler
     Chicken Antitrust Litigation, 2023 WL 4303476, at *8 (ND. Ill. June 30, 2023)
27   (rejecting Daubert challenge to Prof. Elhauge’s testimony); Sitts v. Dairy Farmers of
     America, 2020 WL 3467993, at *1, 11 & n.2 (D. Vt. 2020) (“Numerous federal courts
28   have determined that Professor Elhauge is qualified to opine on antitrust
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 2   economics… Defendants’ motion to exclude is DENIED with regard to Professor
     Elhauge’s regression analysis…. ‘There is no serious question that Prof[essor]
 3   Elhauge ‘posses[es] skill or knowledge’ in conducting regression analysis in antitrust
     cases[.]’” (quoting In re Mushroom, 2015 WL 5767415, at * 5); It's My Party, Inc.,
 4   v. Live Nation, Inc., 88 F.Supp.3d 475, 485 (D. Md. 2015) (“I deny the motion to
     exclude Elhauge based on his qualifications…. Elhauge has an extensive background
 5   in the study of antitrust law and regulation, and he has taught on the subject for more
     than a decade.”); United Food & Commercial Workers Local 1776 v. Teikoku
 6   Pharma USA (Lidoderm), 296 F. Supp. 3d 1142, 1162-64, 1186-88 (N.D. Cal. Nov.
     3, 2017) (qualifying Prof. Elhauge to testify on antitrust economics); In re Namenda
 7   Direct Purchaser Antitrust Litigation, 331 F.Supp.3d 152, 172-174 (S.D.N.Y. 2018)
     (qualifying Prof. Elhauge to testify on antitrust economics); Retractable
 8   Technologies, Inc. v. Becton Dickinson and Co, 2013 WL 12143104, at *2 (E.D.
     Texas Sept 2, 2013) (qualifying Elhauge to testify on antitrust economics); In re:
 9   Southeastern Milk Antitrust Litigation, 2010 WL 11462847, at *1, 3 (E.D. Tenn. Dec.
     8, 2010) (“Mr. Elhauge is qualified by both education and experience to testify as an
10   expert in an antitrust case. That he holds no degree in economics does not disqualify
     him; instead, his credentials . . . are imposing.”); Masimo Corp. v. Tyco, 2004 WL
11   7094930, at *4 (C.D. Cal. May 28, 2004) (“despite his lack of an economics degree,
     Mr. Elhauge’s ‘knowledge, skill, experience, training or education’ give him special
12   expertise in the area in which he seeks to testify.”); King Drug v. Celphalon, Inc.,
     2015 WL 12645766, at *4 (E.D. Pa. Dec. 22, 2015) (rejecting Daubert motion to
13   exclude Prof. Elhauge’s testimony); Applied Med. Res. Corp. v. Ethicon, No. SACV
     03-1329 (JVS MLGx), Tentative Minute Order re Motions in Limine, at 24 (C.D.
14   California) (“The Court finds that Elhauge’s background and experience . . . qualify
     him as an expert in the field of antitrust economics.”); Garber v. MLB, No. 12 CV
15   3704 (SAS), Nov. 24, 2015 Hearing, Transcript at 11 (S.D.N.Y) (“I think he's
     qualified to give his testimony…. he has testified in this area before. He has an
16   extensive background in the area. He seems to be well regarded in the field”); Roxul
     USA, Inc. v. Armstrong World Industries, Inc., 2019 WL 1101385 at *1 (D. Del.
17   March 8, 2019) (“we find Professor Elhauge's testimony based on his disclosed
     opinions is reliable, fits the issues, and will assist our jury.”); United States v. Wyeth,
18   No. 1:03-cv-12366-DPW & 1:06-cv-11724-DPW, February 8, 2016 hearing,
     Transcript at 8 (D. Mass.) (“I am denying the motion in limine or to exclude his
19   testimony.”); GN Netcom v Plantronics, No. 12-1318-LPS (D. Del.), August 29,
     2017 hearing, Transcript at 73-74 (“Turning next to the Daubert motion.… I'm
20   denying that motion… I see no real dispute over the qualifications of Professor
     Elhauge.”); Amgen v. F. Hoffman-La Roche, No. 05-12237 WGY, Jan 3, 2008,
21   Electronic Order Denying Motion to Exclude Expert Report and Testimony of
     Professor Elhauge Due to Lack of Qualification (D. Mass.) (rejecting motion
22   claiming Professor Elhauge was not qualified to testify on antitrust economics);
     Savant Systems v. Creston Electronics, No. 1:10-cv-11622-WGY, Sept. 24, 2014,
23   Electronic Order Entered Denying Motion To Exclude the Expert Report and
     Accompanying Testimony of Einer Elhauge, (D. Mass.) (same); Hynix Antitrust
24   Cases, No. JCCP 4607 (Cal. Superior Court, County of San Francisco Sept 9, 2010),
     hearing at 82 (same). Sitts is not to the contrary because it admitted the economic
25   substance of Prof. Elhauge’s testimony and simply limited his phrasing of certain
     points. 2020 WL 3467993, at *5-7, 9-10. Pinal Creek is not to the contrary because
26   it was an environmental cleanup case in which Professor Elhauge offered no opinions
     on antitrust economics, his testimony on corporate norms was admitted, and all that
27   was excluded was a few pages of his report on whether the history of antitrust case
     law meant that certain ancient documents from the DOJ antitrust division indicated
28   joint operation. The Pinal Creek Group v. Newmont Mining Corp., 352 F. Supp. 2d
     1037, 1046 (D. Ariz. 2005).
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 1   rejecting motions to exclude Prof. Elhauge’s testimony on antitrust economics
 2   includes Garber v. MLB, which involved Major League Baseball’s restraints on
 3   telecasts that parallel those at issue in this case and in which Prof. Elhauge offered
 4   testimony on topics parallel to those at issue here. No. 12 CV 3704 (SAS) (S.D.N.Y).
 5   Contrary to the NFL Defendants’ misleading characterization of the caselaw
 6   concerning Prof. Elhauge’s expert testimony, an uninterrupted line of cases has found
 7   his testimony on antitrust economics to be admissible.
 8         In reality, the motion to preclude Prof. Elhauge’s testimony as improper “legal
 9   opinion” is a thinly veiled attempt to keep two legitimate criticisms of Prof. Bernheim
10   from the jury. First, Prof. Bernheim’s opinion that
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13                , Bernheim Report ¶ 250, is contradicted by both economic principles and
14   the history of sports broadcasting. Second, Prof. Bernheim fails to support his
15   proffered justifications for the contractual restraints that Plaintiffs challenge in this
16   litigation with quantitative evidence that demonstrate that they actually promote
17   competition. None of these criticisms purports to explain or apply the law governing
18   this case.
19         Each is also consistent with the applicable law on the Rule of Reason. Binding
20   precedent, including Epic Games, Inc. v. Apple, Inc., makes this clear. The NFL
21   Defendants bear the burden of establishing a legitimate and non-pretextual
22   explanation why the challenged conduct promotes competition. Prof. Elhauge opines
23   that the explanations offered by the NFL Defendants cannot withstand economic
24   scrutiny. The NFL Defendants’ argument that this criticism somehow flips the
25   burden of proof rests on the assumption that they can satisfy their burden merely by
26   claiming a supposed procompetitive rationale. But that is not the law. As this Court
27   has recognized, under the Rule of Reason, defendants bear the “heavy burden of
28   establishing an affirmative defense which competitively justifies th[e] apparent
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 1   deviation from the operations of a free market.” Dkt. 1155 at 18 (quoting NCAA v.
 2   Bd. of Regents of Univ. of Okl., 468 U.S. 85, 113 (1984)). Prof. Elhauge opines that
 3   the NFL Defendants have not proffered quantitative evidence that supports any
 4   procompetitive justification much less met this heavy burden.
 5         The NFL Defendants’ motion should be denied.
 6   I.    None of Prof. Elhauge’s Opinions Is Legal in Nature
 7         Each of the opinions challenged by the NFL Defendants is an economic
 8   critique of a specific economic opinion offered by Prof. Bernheim. The NFL
 9   Defendants’ efforts to characterize these rebuttal opinions as improperly legal cannot
10   be reconciled with Prof. Elhauge’s opinions themselves.
11         Plaintiffs do not dispute that Prof. Elhauge may testify about economics but
12   not about law. The NFL Defendants likewise acknowledge that his economic analysis
13   is admissible, Mot. at 1, and base their motion on a mischaracterization of that
14   analysis. Far from offering legal opinions, Prof. Elhauge repeatedly declined to do so
15   when defense counsel asked him deposition questions that raised legal issues. 2
16         The characterization of Prof. Elhauge’s analysis as legal is not only incorrect
17   but also internally inconsistent because the NFL Defendants’ own economics expert
18   Prof. Bernheim will seek to testify about the very matters challenged in this motion.
19   The NFL Defendants necessarily take the position that those are economic matters.
20   Their position thus boils down to a claim that when Prof. Bernheim opines on a
21   matter, it involves economics because he is an economics professor, but when Prof.
22   Elhauge opines on precisely the same matter—in a report limited to rebuttal of Prof.
23   Bernheim’s opinions—it somehow becomes a legal issue.
24

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      See Finn Decl., Ex. 1 (Elhauge Dep. Tr.) at 62:5-6 (“Sorry. I'm not opining on any
26   questions of law.”); id. at 39: 12-13 (“I'm not opining on the scope of the SBA
     because that's a legal question.”); id. at 39:25-40:1 (“That's a legal question, and I
27   don't want to give an opinion on legal issues.”); id. at 19:4-5 (“I don't want to offer
     any legal opinions”); id. at 113:2-4 (“the scope of the SBA . . . is a legal issue on
28   which, you know, I am not opining on that.”); id. at 142:19-20 (“I am . . . not offering
     any opinions on legal topics.”).
                                                4
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  1          Most centrally, Prof. Bernheim offers the opinion that
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  4         . Dkt. 956-8, Bernheim Report ¶¶ 22, 248-251, 253-254. In response, Prof.
  5   Elhauge offers the contrary opinion that
  6                                                                               . Dkt. 962-29,
  7   Elhauge Report ¶¶ 20-22. Prof. Elhauge did not base his analysis on case law or other
  8   legal sources, but rather on the norms that initially governed broadcasts of sporting
  9   events, both outside and inside the NFL, and predated the relevant caselaw and any
 10   restraining league agreements. Elhauge Report ¶¶ 20-22; Elhauge Dep. Tr. at 120:18-
 11   123:9, 125:7-25, 127:17-128:13, 131:10-137:17. If this topic is economic when Prof.
 12   Bernheim discusses it, it must equally be economic when Prof. Elhauge discusses it.
 13   Yet the NFL Defendants take the position that only Prof. Elhauge’s testimony on the
 14   topic must be excluded, while Prof. Bernheim’s contrary opinions are admissible.
 15   Mot. at 2. That makes no sense.
 16          The NFL Defendants further argue that the Court should exclude portions of
 17   one paragraph of Prof. Elhauge’s report because they offer opinions on the scope of
 18   the SBA. Mot. at 2. But Prof. Elhauge offers no affirmative opinion on the scope of
 19   the SBA. Indeed, he explicitly declined to do so: “I’m not opining on the scope of
 20   the SBA because that's a legal question.” Elhauge Dep. Tr. at 39:12-13; see also id.
 21   at 39:23-40:16 (“Q…. Do you know what over-the-air telecast rights [the SBA]
 22   exempts? A. That’s a legal question, and I don’t want to give an opinion on legal
 23   issues. . . . [W]hat the scope of the SBA is, is a legal question to be resolved by you
 24   guys in briefing to the court, it seems to me.”). In responding to Prof. Bernheim’s
 25   claim about the initial allocation of rights, Prof. Elhauge merely articulates his
 26   understanding of the SBA’s scope—an understanding on which he relied to explain
 27   why its limits did not alter the initial allocation for the telecast rights at issue in this
 28   case. Elhauge Report ¶ 21. See also Elhauge Dep. Tr. 40:22-41:5 (“It was relevant to
                                                   5
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  1   consider various understandings of what the scope might be in terms of rebutting
  2   Professor Bernheim's analysis. . . . And so, in critiquing his methodology, I do
  3   consider alternative understandings of the SBA’s scope; but I myself am not offering
  4   any affirmative opinion about the scope of the SBA in this case.”). To the extent that
  5   NFL Defendants assert that mere citation to the understanding of the SBA that an
  6   economics expert employed in his analysis merits exclusion of that analysis, that
  7   assertion conflicts with Prof. Bernheim’s repeated citations to the SBA. See
  8   Bernheim Report ¶¶ 167, 407, 409 & n.75. Moreover, the understanding on which
  9   Prof. Elhauge relied matches this Court’s recent holding on summary judgment.
 10   Compare Dkt. 1155-2 at 13, 18, 20 & n.9 (SBA does not exempt the collective
 11   licensing of paid telecasts nor agreements to prohibit telecasts other than local
 12   blackouts) with Elhauge Report ¶ 21 (same understanding). The scope of the SBA
 13   will be a legal question for this Court’s instructions to the jury.
 14          The NFL Defendants also seek to exclude a sentence in Prof. Elhauge’s report
 15   that states
 16                                                                                           .
 17   Mot. at 2. But the challenged sentence responds to Prof. Bernheim’s claim
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 20                         . See Bernheim Report ¶¶ 264-265. In response, Prof. Elhauge
 21   first notes that Prof. Bernheim “provides no support for that position.” Elhauge
 22   Report ¶ 24. He then states, “
 23

 24                                    .” Id. (emphasis added). The italicized portion makes it
 25   clear that he offers an opinion only on economics, not the law. Yet the NFL
 26   Defendants omit that clause from their quotation. Mot. at 2. Prof. Elhauge then points
 27   out
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  4   Elhauge Report ¶¶ 24-25. Prof. Elhauge’s mere reference to the economic nature of
  5   the agreement at issue in the NCAA case does not turn a comparison between the
  6   pooling of telecasts rights by college football conferences and the pooling of telecasts
  7   rights by NFL Clubs into a legal opinion.
  8         The NFL Defendants’ position thus amounts to a claim that their economics
  9   expert may properly proffer an opinion that the NCAA decision preserves an option
 10   for college football conferences to pool telecast rights, even though that plainly
 11   involves a legal interpretation of the NCAA opinion, but that it is wrong for Prof.
 12   Elhauge to point out in rebuttal: 1) that Prof. Bernheim offers no support (legal or
 13   otherwise) for his interpretation, 2) that Prof. Bernheim’s position conflicts with the
 14   economic understanding of agreements, and 3) that Prof. Bernheim’s position ignores
 15   the possibility that the agreements of college football conferences are less likely to
 16   involve market power and anticompetitive effects. To state the NFL Defendants’
 17   position is to refute it. In any event, none of Prof. Elhauge’s conclusions would
 18   change if the Court excluded this one sentence indicating that the selling of pooled
 19   telecast rights by college football conferences would be an agreement under
 20   economic principles.3
 21         The NFL Defendants further argue that this Court should exclude Prof.
 22   Elhauge’s opinions in three paragraphs about how to construct a but-for world. Mot.
 23

 24   3
        The NFL Defendants also complain Prof. Elhauge discussed in deposition the
      challenged restraints and holding in the NCAA case, Mot. at 2 n.1, but Prof. Elhauge
 25   only did so in response to questions by defense counsel demanding that he discuss
      those issues. Elhauge Dep. Tr. at 165:20-174:8. Indeed, when responding to this line
 26   of defense counsel questions about the restraints and holding in the NCAA case, Prof.
      Elhauge expressly pointed out that “[n]one of this is relevant to any opinion I offer
 27   in terms of rebutting Professor Bernheim. You are just asking me whether what you
      are reading to me from this opinion supports what you are saying. And so far no. But
 28   I -- I don't think any of this is relevant to my opinions in my rebuttal report.” Id. at
      173:7-13 (as corrected in Errata Sheet).
                                                  7
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  1   at 2. In the first challenged paragraph, Prof. Elhauge responds to Prof. Bernheim’s
  2

  3

  4               . Bernheim Report ¶¶ 25, 262, 267, 271. In addition to noting that this
  5   claim rests on Prof. Bernheim’s unsupported legal interpretation that
  6

  7        , Prof. Elhauge points out that “
  8                                                                               .” Elhauge
  9   Report ¶ 24. In support of this point, Prof. Elhauge does not cite legal authority, but
 10   rather an ABA book on the economic proof of damages.4 The fact that the sort of but-
 11   for analysis developed in economics has been adopted into caselaw does not alter the
 12   fact that it remains an economic concept on which economic experts can opine. See
 13   Litton Sys., Inc. v. Am. Tel. & Tel. Co., 700 F.2d 785, 822 (2d Cir. 1983) (sustaining
 14   antitrust verdict based on expert analysis that “was typical of its genre in that it was
 15   . . . based on an estimate of what [plaintiff’s] experience would have been. . . in the
 16   absence of the [challenged conduct] (the ‘but for’ world) as opposed to [plaintiff’s]
 17   actual experience.”); In re Namenda Direct Purchaser Antitrust Litig., 331 F. Supp.
 18   3d at 174 (admitting Prof. Elhauge’s testimony about the but-for world). The NFL
 19   Defendants’ argument is once again internally inconsistent—claiming that Prof.
 20   Bernheim is free to claim that the but-for world should include the NFL’s pooling of
 21   telecast rights, but that Prof. Elhauge is not free to disagree with that claim.
 22   Moreover, Prof. Elhauge’s position is consistent with the NFL Defendants’ own
 23

 24

 25   4
        Elhauge Report ¶ 24 n.5 (stating “See, e.g., ABA SECTION OF ANTITRUST
      LAW, PROVING ANTITRUST DAMAGES: LEGAL AND ECONOMIC ISSUES
 26   4 n.2 (3d ed. 2017) (‘damages resulting from an antitrust injury [are] measured by
      comparison to a “but-for” world that reflects conditions in the actual world in all
 27   respects except for the alleged anticompetitive conduct’).” See also id. at 89 (‘The
      purpose of this analysis is to isolate the effects of the challenged conduct so as to
 28   ascertain what would have happened ‘but for’ the defendant’s unlawful
      activities.’)”).
                                                 8
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  1   position in other motions that the but-for world should exclude any challenged
  2   restraints. See Dkt. 1141 (NFL Defendants’ Motion in Limine No. 1) at n.1.
  3         In the second paragraph challenged for allegedly offering opinions on the legal
  4   standards of a but-for-world, Prof. Elhauge merely responds to Prof. Bernheim’s
  5   argument that “
  6                                                                    Elhauge Report ¶ 26
  7   (citing Bernheim Report ¶¶ 23, 259). Prof. Elhauge states in rebuttal that Prof.
  8   Bernheim cites “no support for any claim that plaintiffs have conceded
  9                              ,” and indeed Prof. Bernheim expressly admitted it was
 10   “reasonable to read plaintiff expert Prof. Rascher as assuming
 11                                                         .” Elhauge Report ¶ 26 (citing
 12   Bernheim Report ¶¶ 24, 260) Prof. Elhauge further pointed to other evidence
 13   supporting that reading of Prof. Rascher’s report. Id. In his deposition, Prof. Elhauge
 14   also pointed to several places where Plaintiffs’ complaint challenged the NFL’s
 15   100% revenue sharing. Elhauge Dep. Tr. at 48:3-49:7. None of these opinions
 16   concern the legal standards applicable to defining the but-for world. Instead, they
 17   rebut the factual premises for Prof. Bernheim’s own claims about the but-for world. 5
 18         In the third challenged paragraph, Prof. Elhauge responds to Prof. Bernheim’s
 19   argument “
 20

 21                                                                                        .”
 22   Elhauge Report ¶ 44 (citing Bernheim Report ¶¶ 317-331). In response, Prof. Elhauge
 23   points out, “
 24                                                                         .” Id. The NFL
 25

 26   5
        Indeed, Prof. Elhauge expressly declined to offer any opinion on the legality of
      revenue sharing. See Elhauge Dep. Tr. at 62:1-15 (“Q. So is it your view that 100
 27   percent revenue sharing would be unlawful in the -- in the but-for world? . . . A.
      Sorry. I'm not opining on any questions of l
 28

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  1   Defendants’ challenge to that sentence again repeats the flawed argument about Prof.
  2   Elhauge’s testimony on the lack of challenged restraints in the but-for world: his
  3   testimony is improper but their expert’s testimony on the same premise is proper.
  4   That argument fails for all the reasons noted above. Moreover, this Court just reached
  5   the same conclusion as Prof. Elhauge—that defense of the NFL’s exclusive dealing
  6   agreement was premised on its defense of its pooling agreement. Dkt. 1155 at 29.
  7         Prof. Elhauge’s other response to Prof. Bernheim’s argument that exclusive
  8   dealing cannot possibly be anticompetitive is to point out that “
  9

 10

 11

 12                                         ” Elhauge Report ¶ 44 (citing Bernheim Report
 13   n.647). Prof. Elhauge further notes that Prof. Bernheim’s “
 14

 15

 16

 17                .” Id.; see also Elhauge Dep. Tr. at 204:6-205:7 (pointing out that given
 18   Prof. Bernheim’s own position
 19

 20

 21                              Contrary to the NFL Defendants’ assertions, this analysis
 22   does not offer any opinions on the legal standards for defining the but-for world. It
 23   merely demonstrates that Prof. Bernheim’s analysis is self-contradictory because
 24

 25

 26                                                                                     The
 27   NFL Defendants’ apparent position is that it is fine for Prof. Bernheim to define the
 28   but-for world in a way that uses internally inconsistent economic analysis, but
                                                10
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  1   somehow improper for Prof. Elhauge to point out Prof. Bernheim’s internal
  2   inconsistency. That position is nonsensical.
  3         In a footnote, the NFL Defendants halfheartedly assert other areas in which
  4   they contend Prof. Elhauge offers legal claims. Mot. at 2 n.1. First, in response to
  5   Prof. Bernheim’s claim that
  6                   ” Bernheim Report ¶ 340, Prof. Elhauge points out that Prof.
  7   Bernheim cites no support for that claim, noting in part that
  8

  9

 10                                                  Elhauge Report ¶ 45. In the footnote
 11   supporting this sentence, Prof. Elhauge cites the same cited source, and then adds a
 12   “see also” cite to a volume of the Areeda-Hovenkamp-Elhauge antitrust treatise as
 13   “discussing when two items should be considered distinct products or instead as parts
 14   of a single product”. See Elhauge Report ¶ 45 n.15. This “see also” cite is what the
 15   NFL Defendants assert makes the claim improperly legal. But Prof. Elhauge makes
 16   no claim at all in this “see also” cite, and there is nothing improper with citing an
 17   antirust treatise that relies on a mix of economic and legal analysis. Nor is there any
 18   dispute with the substantive point that
 19                                                    . Indeed, the NFL Defendants’ motion
 20   raises no dispute with Prof. Elhauge’s factual point—that Prof. Bernheim cites no
 21   support for his claim
 22                  . In any event, even if this “see also” citation were excluded, it would
 23   not alter a single sentence of Prof. Elhauge’s report.
 24         Second, in response to Prof. Bernheim’s claim that the restraints promote
 25                                  , Bernheim Report ¶¶ 518-548, Prof. Elhauge observes
 26   that this argument fails to address the benefits that NFL telecasts already derive
 27

 28

                                                11
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  1                                                       .” Elhauge Report ¶ 69. The NFL
  2   Defendants insist that this paragraph makes a legal claim about intellectual property
  3   protection. Mot. at 2 n.1. It does no such thing. Rather, it points out that Prof.
  4   Bernheim’s assertions
  5                                                                                 . Elhauge
  6   Report ¶ 69; see also Elhauge Dep. Tr. at 233:8-237:14 (
  7

  8             In any event, none of Prof. Elhauge’s conclusions would be altered if this
  9   paragraph were excluded.
 10         Third, in response to Prof. Bernheim’s claim that the challenged restraints must
 11   be allowed                                                , Prof. Elhauge observes the
 12   extreme implications of Prof. Bernheim’s claim, including that it contradicts standard
 13   antitrust economics on reverse payment patent settlements. Elhauge Report ¶ 73. The
 14   NFL Defendants complain that this point cites a law review article by Prof. Elhauge.
 15   Mot. at 2 n.1. But that law review article offered a mathematical proof that was based
 16   on economics rather than law, and Prof. Elhauge also cites an article in an economics
 17   journal by an economics professor that supports the same point. Elhauge Report ¶ 73
 18   n.32. Prof. Elhauge also points out that another extreme implication of Prof.
 19   Bernheim’s claim is that “
 20

 21

 22                                                             .” Elhauge Report ¶ 73. The
 23   NFL Defendants do not deny that accepting Prof. Bernheim’s argument would permit
 24                                                  . They argue only that the claim that
 25                                                          conflicts with the very existence
 26   of antitrust law is an improper legal claim about the underpinnings of antitrust law.
 27   Mot. at 2 n.1. But that is so only if one thought there were some plausible legal
 28   dispute about whether antitrust law allows                                             ,
                                                12
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  1   which is not a claim that the NFL Defendants or Prof. Bernheim have ever attempted
  2   to offer.
  3          In sum, none of the opinions of Prof. Elhauge challenged by the NFL
  4   Defendants comes close to the type of opinion deemed impermissible by the caselaw.
  5   Prof. Elhauge’s rebuttal report bears no relation to the expert report excluded in
  6   Nationwide, which discussed how the Uniform Commercial Code and other
  7   commercial law “related to the facts of this case.” Nationwide Transp. Fin. v. Cass
  8   Info. Sys., Inc., 523 F.3d 1051, 1056 (9th Cir. 2008). Even under those circumstances,
  9   the district court struck “only those portions of the report that discuss the law and its
 10   application.” Id.
 11   II.    Prof. Elhauge’s Critiques of Procompetitive Justifications Are Wholly
 12          Consistent with the Rule of Reason
 13          Prof. Elhauge opines that “Prof. Bernheim fails to establish any procompetitive
 14   justification for the challenged restraints” because “he provides no evidence to
 15   quantify their benefit to consumers, or show that the size of any benefit to consumers
 16   outweighs the anticompetitive effects on prices, output, and consumer choice.”
 17   Elhauge Report ¶ 14. The NFL Defendants argue (1) that Prof. Elhauge asserts that
 18   defense experts bear the burden of proof on procompetitive benefits and (2) that that
 19   supposed assertion is contrary to the law. Mot. at 3-5. They are wrong on both scores.
 20          First, Prof. Elhauge offers no opinion on the burden of proof. The word
 21   “burden” does not appear in his report or his deposition. The sole support the NFL
 22   Defendants cite for that claim is Prof. Elhauge’s observation that Prof. Bernheim
 23   failed to quantify the procompetitive effects he claimed or prove that they outweighed
 24   the anticompetitive effects of the challenged restraints. Mot. at 4. That factual claim
 25   says nothing about whether Prof. Bernheim or the NFL Defendants have the burden
 26   of proof on those issues. It is simply a factual point for the jury to consider as they
 27   weigh the evidence offered by both parties. This point is relevant regardless of who
 28

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  1   bears the burden of proof on those issues under the jury instructions the Court
  2   ultimately issues.
  3         Second, this critique is entirely consistent with the Rule of Reason. “The rule
  4   of reason requires courts to conduct a fact-specific assessment” to “distinguish
  5   between restraints with anticompetitive effect that are harmful to the consumer and
  6   restraints stimulating competition that are in the consumer’s best interest.” Ohio v.
  7   Am. Express Co., 138 S. Ct. 2274, 2284 (2018) (cleaned up). In the Ninth Circuit,
  8   this fact-specific assessment comprises four steps, as recognized by the principal case
  9   on which the NFL Defendants rely, Epic Games, Inc. v. Apple, Inc., 67 F.4th 946,
 10   993-94 (9th Cir. 2023). 6 At step one, the plaintiff bears the burden of proving that the
 11   challenged restraint has a substantial anticompetitive effect that harms consumers in
 12   the relevant market. Id. at 983. If the plaintiff establishes substantial anticompetitive
 13   effects, the burden then shifts back to the defendant to “show a procompetitive
 14   rationale for the restraints.” Id. at 985-86 (cleaned up). “A procompetitive rationale
 15   is a [1] nonpretextual claim that the defendant’s conduct is [2] indeed a form of
 16   competition on the merits because it involves, for example, greater efficiency or
 17   enhanced consumer appeal.” Id. at 986 (cleaned up). If the defendant proves a
 18   legitimate procompetitive rationale, “the burden shifts back to the plaintiff to
 19   demonstrate that the procompetitive efficiencies could be reasonably achieved
 20   through less anticompetitive means.” Id. at 990. “[W]here a plaintiff’s case comes up
 21   short at step three, the district court must proceed to step four and balance the
 22   restriction’s anticompetitive harms against its procompetitive benefits.” Id. at 994.
 23         Prof. Elhauge’s critiques of Prof. Bernheim’s proffered justifications are
 24   helpful to the jury’s fact-specific assessment of the restraints’ effect on competition
 25   because they bear directly on steps two, three, and four of this framework. At step
 26

 27
      6
        Although the Court of Appeals may have questioned the wisdom of the fourth step
 28   in Epic Games, it recognized that it was bound by precedent to apply it. 67 F.4th at
      994.
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  1   two, assuming Professor Bernheim, who is not an expert in sports economics,7 is
  2   permitted to opine regarding the alleged procompetitive effects of the challenged
  3   restraints despite failing to quantify them,8 Prof. Elhauge’s testimony bears on the
  4   jury’s assessment of whether the NFL Defendants’ proffered rationales are pretextual
  5

  6   7
        Finn Decl., Ex. 2 (Bernheim Dep. Tr.) at 24:18-25:4.
      8
       The absence of a quantification of procompetitive benefits in an opinion by one who
  7   is not an expert in sports economics is no small omission. In O’Bannon v. NCAA, 7
      F. Supp. 3d 955, 979 (N.D. Cal. 2014), aff’d in part, vacated in part, 802 F.3d 1049
  8   (9th Cir. 2015) the Court rejected arguments based on competitive balance for exactly
      this reason:
  9
            Even if the NCAA had presented some evidence of a causal connection
 10         between its challenged rules and its current level of competitive balance, it has
            not shown that the current level of competitive balance is necessary to maintain
 11         its current level of consumer demand. It is undisputed that the ideal level of
            competitive balance for a sports league is somewhere between perfect
 12         competitive balance (where every team has an equal chance of winning every
            game) and perfect imbalance (where every game has a predictable outcome).
 13         The NCAA has not even attempted to identify the specific level of competitive
            balance between those extremes that is ideal or necessary to sustain its current
 14         popularity. Given the lack of such evidence in the record, the Court finds that
            the NCAA’s challenged rules are not needed to achieve a level of competitive
 15         balance necessary, or even likely, to maintain current levels of consumer
            demand for FBS football and Division I basketball.
 16
      See also Smith v. Pro Football, Inc., 593 F.2d 1173, 1186 (D.C. Cir. 1978) (rejecting
 17   alleged competitive balance justification, noting “[b]ecause the draft's
      ‘anticompetitive’ and ‘procompetitive’ effects are not comparable, it is impossible to
 18
      ‘net them out’ in the usual rule-of-reason balancing. The draft’s ‘anticompetitive
 19   evils,’ in other words, cannot be balanced against its ‘procompetitive virtues,’ and
      the draft be upheld if the latter outweigh the former. In strict economic terms, the
 20
      draft’s demonstrated procompetitive effects are nil.”). The absence of quantification
 21   undermines any foundational basis for Prof. Bernheim’s opinion. The very academic
      literature referenced in Prof. Bernheim’s report makes clear that those who are
 22
      experts in sports economics and who have studied the issue empirically have found
 23   no basis for the alleged pro-competitive effects that he opines exist:
 24         This essay examines how game coverage, revenues, and competitive balance
            are affected by competition in commercial television and sales of rights. It
 25
            argues that consumers are better off if television is competitive and leagues
 26         do not centralize rights sales. We conclude that centralization of rights sales
            does not improve competitive balance or benefit financially weak teams.
 27
      Roger G. Knoll, “Broadcasting and Team Sports,” Scottish Journal of Political
 28   Economy, Vol. 54, No. 3, July 2007.
                                                15
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  1   and whether they in fact promote competition on the merits. The absence of any
  2   empirical evidence establishing that the restraints protect the existence of over-the-
  3   air broadcasts or promote innovation in broadcasting is an indication that those
  4   explanations are pretextual. This absence further indicates that the NFL Defendants
  5   have no factual basis to suggest that the restraints actually promote “greater
  6   efficiency or enhanced consumer appeal,” Epic Games, 67 F.4th at 986. When
  7   assessing whether the challenged restraints are necessary to
  8                                 , for example, the jury can and should consider that
  9   neither Prof. Bernheim nor the NFL has ever determined
 10

 11                            See Elhauge Report ¶ 54. In lieu of such analysis, Prof.
 12   Bernheim speculates
 13

 14               , without further specification. Bernheim Report ¶¶ 437-39. Highlighting
 15   the speculative and nebulous nature of these opinions will help the jury evaluate
 16   whether this rationale is in fact pro-competitive. The NFL Defendants cannot satisfy
 17   their burden at step two merely by articulating a supposed rationale. Precedent makes
 18   clear that the NFL Defendants bear an empirical burden to prove procompetitive
 19   effects, not just a burden of articulating some procompetitive rationale that may or
 20   may not have any basis in fact. See PLS.Com, LLC v. Nat’l Ass’n of Realtors, 32
 21   F.4th 824, 836 (9th Cir. 2022), cert. denied sub nom. The Nat’'l Ass’n of Realtors v.
 22   The PLS.com, LLC., 143 S. Ct. 567 (2023). (“A procompetitive justification must
 23   explain why the challenged restraint enhances competition.”). Prof. Elhauge’s
 24   critiques show that the NFL Defendants have failed to do so.
 25         These critiques are also relevant to the jury’s assessment of Plaintiffs’ burden
 26   at step 3. As the Epic Games court explicitly recognized, deficiencies in the proof of
 27   procompetitive benefits at the second step influence, if not eliminate the need for any
 28   analysis at the third step. 67 F. 4th at 986 (“Because the NCAA’s amateurism-as-
                                                16
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  1   consumer-appeal rationale was nebulously defined and weakly substantiated, the
  2   plaintiffs had more flexibility at step three to fashion less restrictive alternatives”
  3   (citing NCAA v. Alston, 141 S. Ct. 2141)). This framework makes clear that critiques
  4   of the substantiation of a procompetitive rationale are at a minimum, helpful to a
  5   jury’s assessment of step 3. Prof. Elhauge’s opinions do exactly that.
  6         Prof. Elhauge’s opinion that the evidence proffered by Prof. Bernheim “
  7

  8                            ” is likewise relevant to step 4. Elhauge Report ¶ 61. The
  9   “fourth, totality-of-the-circumstances step in the Rule of Reason” calls for “balancing
 10   the anticompetitive effects of [defendants’] conduct against its procompetitive
 11   benefits.” Epic Games, 67 F.4th at 993. Prof. Elhauge’s opinions that the NFL
 12   Defendants’ justifications are insufficient to counteract the anticompetitive effects
 13   are tailored precisely to this step.
 14         Nowhere in Prof. Elhauge report does he state, or imply, that the law imposes
 15   on the NFL Defendant a burden to “quantify the procompetitive effects of its
 16   behavior” or “affirmatively prove that its conduct has a net positive effect on
 17   competition.” See Mot. at 4.9 Prof. Elhauge expresses no opinion about the allocation
 18   of burdens of proof under the rule of reason. His critiques instead will demonstrate
 19   to the jury that the NFL Defendants’ justifications are based on flimsy, if not non-
 20   existent, economic evidence. Because that critique correctly applies the rule-of-
 21   reason framework, the cases cited by the NFL Defendants on “misapplication of the
 22   law” are irrelevant. See id. Unlike the precluded expert testimony in Yerkes v. Ohio
 23   State Highway Patrol, which criticized the plaintiff’s expert for failure to include
 24   hypothetical jobs the plaintiff may have obtained in its calculation of back pay in a
 25   Title VII case, Prof. Elhauge’s opinions do not imply that Prof. Bernheim was
 26   required to account for facts that plaintiffs bear the burden of proving. 2023 WL
 27

 28   9
        It is anticipated that issues about the allocation of the burdens of proof will be
      addressed through the Court’s jury instructions on this matter.
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  1   4633896, at *13 (S.D. Ohio July 20, 2023). Instead, they are straightforward
  2   criticisms of the methods that Prof. Bernheim applied and absence of evidentiary
  3   support for his conclusions on which the NFL Defendants bear the burden of proof.
  4   The NFL Defendants point to no case in which such a critique of expert testimony
  5   on procompetitive justifications was excluded.
  6          Here, the NFL Defendants’ failure to adequately substantiate their
  7   procompetitive rationales will help the jury assess the legitimacy of those rationales,
  8   an assessment that is plainly relevant to the proper application of the Sherman Act to
  9   the NFL Defendants’ conduct. There is thus no basis to exclude these opinions under
 10   either Federal Rule of Evidence 401 or 702(a).
 11   III.   Conclusion
 12          For the foregoing reasons, the NFL Defendants’ motion to exclude certain
 13   testimony from Einer Elhauge should be denied.
 14

 15   Dated: January 19, 2024                Respectfully submitted,
 16

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